             Case 1:15-cv-02010-JDB Document 97 Filed 05/10/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  MARY OFISI, et al.,
             Plaintiffs,
                v.                                    Civil Action No. 15-2010 (JDB)

  AL SHAMAL ISLAMIC BANK, et al.,
             Defendants.


                                            ORDER

        Upon consideration of [ECF No. 96] plaintiffs’ motion to dismiss with prejudice all claims

against defendant Al Shamal Islamic Bank, and the entire record herein, it is hereby

        ORDERED that the motion is GRANTED; it is further

        ORDERED that plaintiffs’ claims against Al Shamal Islamic Bank are hereby

DISMISSED WITH PREJUDICE pursuant to Federal Rule of Civil Procedure 41(a)(2); and it

is further

        ORDERED that each party shall bear their own costs.

        SO ORDERED.

                                                                        /s/
                                                                JOHN D. BATES
                                                            United States District Judge


Dated: May 10, 2022
